                               UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF NORTH CAROLINA
                                    CHARLOTTE DIVISION
                              DOCKET NO. 3:16-cv-00848-FDW-DSC
    CARGILL. INC., and CARGILL MEAT )
    SOLUTIONS, CORP.,               )
                                    )
         Plaintiffs,                )
                                    )
    vs.                             )                            AMENDED JUDGMENT and ORDER
                                    )
    WDS, INC., JENNIFER MAIER, and )
    BRIAN EWERT,                    )
                                    )
         Defendants.                )

        THIS MATTER is before the Court following return of the jury’s verdict regarding the

entry of judgment in this matter and the schedule for filing post-trial motions.

        For the reasons stated in open Court following the jury’s verdict and pursuant to

18 U.S.C.§ 1964(c), the Court awarded threefold the jury’s finding of the amount of damages, as

well as costs and reasonable attorneys’ fees1 for Plaintiffs’ claims against Defendants Jennifer

Maier and Brian Ewert under RICO 18 U.S.C. § 1962(d). Accordingly, Defendants Maier and

Ewert are liable to Plaintiffs on this claim in the amount of $105,531,807.00, which is threefold

the amount of damages awarded by the jury. The judgment (Doc. No. 315) as entered is hereby

AMENDED to reflect such award.

        Additionally, as ordered by the Court following the return of the jury’s verdict, Plaintiffs

shall file within fourteen (14) calendar days from the day of this order a memorandum of law

indicating whether the conduct found by the jury constitutes an unfair or deceptive trade practice


1
 The Court will order additional briefing as to the amount of reasonable attorneys’ fees to be awarded following a
decision on Plaintiffs’ request, if any, for attorneys’ fees on their claim for Unfair and Deceptive Trade Practices
pursuant to N.C. Gen. Stat. § 75-16.1.
                                                         1



       Case 3:16-cv-00848-FDW-DSC Document 316 Filed 01/23/18 Page 1 of 3
under N.C. Gen. Stat. § 75-1.1. Plaintiffs shall also include any motion for attorneys’ fees pursuant

to N.C. Gen. Stat. § 75-16.1 within their pleadings. Defendants shall respond to these pleadings

within fourteen (14) calendar days from the filing of Plaintiffs’ pleadings on this issue. Plaintiffs

need not file any reply brief.

         Furthermore, in accordance with Defendants’ request to expedite briefing of post-trial

motions,2 the Court hereby orders the parties to file all post-trial motions, if any, within fourteen

(14) calendar days. Responses to any motions shall be due within fourteen (14) calendar days

from the filing of the respective motion.

         Finally, during the post-verdict hearing, Defendants indicated an intention to file a motion

pursuant to Federal Rule of Civil Procedure 62 to stay execution of the judgment in this case. The

Court indicated motions to stay execution shall be promptly filed, and the Court notes

Fed. R. Civ. P. 62 sets forth the circumstances upon which Defendants can file such motion.

Pursuant to the expedited briefing schedule for post-trial motions, the Court hereby anticipates the

filing of a motion to stay but declines to set any deadline for doing so, as the timing to file an

appropriate motion shall be left to counsel’s discretion pursuant to the Federal Rules of Civil

Procedure.

         IT IS THEREFORE ORDERED that the Clerk’s Judgment as entered (Doc. No. 315) shall

be amended to reflect that Defendants Jennifer Maier and Brian Ewert are liable to Plaintiffs

pursuant to 18 U.S.C. § 1962(d) in the amount of $105,531,807.00, which is threefold the amount




2
  The Court notes, for the record, Defendants acknowledged that trial transcripts in this matter would be unavailable
for counsel for an extended period of time. Defense counsel indicated a willingness to proceed with the filing of post-
trial motions prior to receipt of any transcripts, and Plaintiffs’ counsel did not lodge any objection to this expedited
briefing schedule.
                                                           2



      Case 3:16-cv-00848-FDW-DSC Document 316 Filed 01/23/18 Page 2 of 3
               of damages awarded by the jury. Defendants Maier and Ewert are also liable to Plaintiffs for the

               cost of suit and reasonable attorneys’ fees in an amount to be later determined by the Court.

                       IS IS FURTHER ORDERED that the deadlines set forth herein shall govern the filing of

               post-trial motions and other pleadings related to the jury’s verdict.

                       IT IS SO ORDERED.

Signed: January 23, 2018




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                     Case 3:16-cv-00848-FDW-DSC Document 316 Filed 01/23/18 Page 3 of 3
